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               Wharton Declaration
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E. B. (TRÉ) WHARTON III                                                     RESUME
ECOLOGICAL TEAM LEADER




Areas of Expertise
    Wetland Investigations/Monitoring
    Wetland Mitigation
    Spill Response and Natural Resource Damage Assessments
    Biological Assessments and Inventories
    Threatened and Endangered Species Studies
    Regulatory/Permitting
    Natural Resource Planning
    Litigation Support

Years of Relevant Experience
22

Education
B.S., Wildlife Conservation, Louisiana Tech University, 1990

Certifications

Mr. Wharton has received certification in the Corps of Engineers’ Regulatory IV Wetland
Identification and Delineations Course and has received certification in a Wetland
Classification and Inventory Training Course (40-hours) sponsored by the U.S. Fish and
Wildlife Service, and the Hydric Soils and Wetland Hydrology (40-hours) sponsored by
the Wetland Training Institute. Mr. Wharton has completed the OSHA 40-hour
hazardous materials training course in accordance with 29 CFR 1910.120 as well as the
NHI Course No 142005 (NEPA and Transportation Decision making) offered through
the US Department of Transportation, Federal Highway Administration.

Project Locations
LA, TX, AR, MS, AL, GA, NC, SC, FL, OK, TN, KY, IN


EXPERIENCE DETAIL

Mr. Wharton is the Manager of C-K’s Ecological Team, as well as a Senior Project
Manager for Biological and NEPA investigations. He is the field supervisor for all
wetland-related projects performed by C-K and has managed the performance of
wetland delineations (including mapping), wetland mitigation projects, a wetland
assimilation feasibility study, and wetland permitting projects, for large tracts (greater
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TRÉ WHARTON                                                                Page 2 of 6

than 1,000-acres) throughout the southeast. He has supervised the accomplishment of
several hundred wetland delineations located in the southeast covering thousands of
acres. Mr. Wharton has also participated in Biological Resources Evaluations and
Threatened and Endangered Species investigations throughout the Southeastern US.
Mr. Wharton has also provided expert opinion for litigation support involving wetland
impacts.

Mr. Wharton recently served as the Project Director for a wetland assimilation project
within the Fritchie Marsh System located in St. Tammany Parish, Louisiana in support of
the St. Tammany Parish Wastewater Consolidation Program. Duties include directing all
field activities and preparing the feasibility analysis prior to preparing the baseline
ecological characterization. He oversaw the coordination of all of the project information
with LDEQ in support of the LPDES Permit application process.

Mr. Wharton has been the Project Manager for the LOOP Environmental Management
Plan from 2002-2011. Responsibilities have included directing field activities associated
with the beach elevation and beach vegetation surveys, as well as field verification
associated with a land loss analysis. This involved directing the overall habitat and land
loss investigation which used a geographical information system (GIS) approach to
determine land change throughout both the project area and a control area. Other
responsibilities included report preparation and presentation of results to the Louisiana
Transportation Research Center (TRC) and the Program Review Committee.

Mr. Wharton managed numerous linear projects including but not limited to a General
Re-Evaluation Report/Supplemental Environmental Impact Statement for the proposed
improvements along the Tamiami Trail (US 41) in south Florida as well as several
highway projects in Louisiana. All of these included a wetland investigation component
as well as terrestrial habitat assessments and surveys.

Mr. Wharton is part of C-K’s Environmental Spill Response Program (ESRP). This
program has responded to a number of water and land based spills requiring his
experience in collection of field data to assess impacts, to develop assessment
strategies. He serves as a project biologist/phase leader during response projects
evaluating impacts to flora and fauna in the affected areas. In addition, he is assists in
providing Natural Resource Damage Assessment (NRDA) technical direction for
obtaining baseline and incident data and facilitating the cooperative efforts between our
clients and State and Federal Natural Resource Trustee Agencies.

Mr. Wharton has managed natural resources projects which include a NEPA component
including an Integrated Natural Resources Management Plan and Environmental
Assessment for military installations, an Endangered Species Management Plan and
Environmental Assessment; and a Site-Specific Environmental Impact Assessment
(EIA) for the proposed expansion of a federal lock and dam in Indiana. The EIA
included preparation of a Biological Assessment, wetland delineation, an endangered
mussel survey and development of concept land plans and costs for the disposal of
dredge material.



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Mr. Wharton has supervised data collection in the Phase I and II site assessment at two
pesticide contamination sites in north Louisiana. These sites were being investigated
for soil, water and air contamination. Mr. Wharton has been directly responsible for
implementing sampling plans and the quality control/quality assurance of these
samples.

Wetland Delineations/Wetland Assimilation

        Wetland Delineation, Carter Plantation, Springfield, LA - Directed field delineation
         for the entire golf course and associated development. This included multiple
         habitats over 1,000 acres. Specifically, C-K was instrumental in providing design
         information which resulted in the minimization of wetland impacts throughout the
         development.
        Lago Espanol Mitigation Bank, Iberville Parish, LA - Mr. Wharton was responsible
         for the management of data collection, prospectus design, and coordination with
         the Mitigation Bank Review Team (MBRT). The bank included multiple habitat
         types on over 4,000 acres. Mr. Wharton helped design restoration and
         enhancement plans which included species composition manipulation, hydrologic
         enhancement/restoration, and habitat conversion (elimination of exotics and re-
         planting with indigenous higher quality species).
        Wetland Assimilation, St. Tammany Wastewater Consolidation Project, LA –
         Worked with CDM evaluating portions of Fritchie Marsh located in St. Tammany
         Parish for use as wetland assimilation. Mr. Wharton was involved in obtaining all
         baseline information and preparing the feasibility study and completion of the
         applicable portions of the LPDES Permit Application to Discharge Treated
         Sanitary Wastewater into a Natural Wetland or Fastland (WPS-WAP). This was
         an ongoing project and part of St. Tammany’s Wastewater Consolidation
         Program.
        Kinder Morgan Louisiana Pipeline, LA - Mr. Wharton was involved in the wetland
         delineation along the pipeline ROW. He provided technical support for threatened
         and endangered species evaluation.
        U.S. Highway 165 (Louisiana Department of Transportation and Development) –
         Project supervisor for the collection of data, delineation of wetlands, and mapping
         of wetlands along an approximately 66-mile by 200-foot corridor. Results were
         used by LaDOTD to determine impacts to wetlands and preparation of a U.S.
         Army 404 Permit.
        U.S. 171 Widening Project (Louisiana Department of Transportation and
         Development) – Participated in the delineation of wetlands along the 200-foot
         wide corridor from Bains, Louisiana to the Louisiana/Mississippi state line.
         Results were used to determine potential impacts to wetlands in conjunction with
         the proposed project.
        Wetland Delineation, Warner Robins Air Logistic Center, Warner Robins, GA
         (U.S. Army Corps of Engineers, Savannah District) – Project supervisor for an
         investigation of selected tracts on base for the presence or absence of
         jurisdictional wetlands totaling approximately 2,000 acres. Tasks included
         supervision of all fieldwork, final report preparation, and meeting with the



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         (USACE) Regulatory Branch to obtain formal verification of findings. Results
         were used by base personnel to assess the suitability of tracts for future use.
        Base wide Wetland Delineation, Pope Air Force Base, NC (USACE, Savannah
         District) – Project supervisor during the investigation of approximately 1,800
         acres for jurisdictional wetlands. Tasks included the supervision of all fieldwork,
         assimilation of all data to be incorporated into a comprehensive wetland
         management plan, and preparation of a detailed wetland location map based on
         a land survey.
        Multi-Parish Wetland Determinations (U.S. Army Corps of Engineers, New
         Orleans District) – Project manager for the investigation of approximately 200
         sites throughout south Louisiana. Responsibilities included the collection of field
         data and preparation of reports.

Environmental Assessments/Environmental Impact Statements

        Site Specific Environmental Impact Assessment, J.T. Myers Locks and Dam,
         Posey County, IN (USACE, Louisville District)
        Environmental Assessment With Finding of No Significant Impact, I-10 Widening,
         Acadian Thruway/I-12, Route I-10 and I-12 Widening, I-10 to U.S. 61, Route I-12
         (Louisiana Department of Transportation and Development)
        Environmental Impact Statement, Fort Sill, Lawton, OK (USACE, Tulsa District)
        Defense Environmental Restoration Program (Multiple Sites) (USACE, Savannah
         District)
        Environmental Assessment With Finding of No Significant Impacts, Levee
         Repairs Along Several Drainage and Levee District (USACE. Illinois, Mississippi,
         and Missouri Rivers Within the St. Louis District)
        Wolf River Environmental Restoration Feasibility Study, Shelby and Fayette
         Counties, Tennessee (USACE, Memphis District)

Natural Resources Investigations/Planning

        C-K developed a comprehensive wetlands restoration and enhancement plan for
         an approximate 2300-acre wetland area located in south Louisiana. Planning for
         the restoration included constructing a hydrodynamic model for a 2,300-acre
         subbasin and designing a freshwater input channel into degrading wetlands. C-K
         evaluated the model results and calculated the benefits to wetland functions
         associated with the introduction of freshwater.
        Integrated Natural Resources Management Plan (INRMP) and Environmental
         Assessment (EA), Blue Grass Army Depot (BGAD), Richmond, KY (USACE)
        Integrated Natural Resources Management Plan (INRMP), Fort Benning, GA
         (USACE)
        Integrated Natural Resources Management Plan (INRMP), Pope Air Force Base,
         NC (U.S. Army Corps of Engineers, Savannah District) – Project supervisor
         responsible for direct control of data collection and preparation of an INRMP.
        Natural Resources Inventory, Bogue Chitto State Park, LA – Project manager for
         the collection analysis and presentation of all natural resources within the
         proposed State Park. This information was given to the design firm and C-K


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         worked to incorporate significant resources into the overall master plan in an
         effort to minimize impacts. Managed the Department of the Army permit
         application through issuance of the permit and coordinated mitigation.
        Fontainbleau State Park, St. Tammany Parish – Project manager responsible for
         the wetland delineation and recourse evaluation associated with a Department of
         the Army permit. Directed all field activities including a submerged aquatic
         vegetation survey along the shoreline where improvements were proposed. This
         project incorporated natural resources into a master plan for development in an
         effort to minimize damage to these resources.

Threatened and Endangered Species

        Henry Gas Storage – Project manager for the proposed Henry Gas Storage
         facility which consists of four underground natural gas storage caverns and
         associated infrastructure including an 11-mile on-shore pipeline and a 23-mile
         off-shore brine discharge line. Studies managed by Mr. Wharton included a,
         threatened and endangered species survey, critical habitat assessment and
         coordination with USFWS, cultural resources survey and a water bottom
         assessment looking for active oyster colonies in the vicinity of the off-shore
         discharge line.
        Endangered Species Management Plan/Environmental Assessment (ESMP/EA)
         Bluegrass Army Depot (U.S. Army Corps of Engineers, Louisville District) –
         Project supervisor responsible for direct control of data collection and preparation
         of the ESMP/EA for Bluegrass Army Depot. The main focus of the document
         was integrated management of the Running Buffalo Clover (RBC) with the
         military mission.
        Threatened and Endangered Species Surveys, Fort Benning, GA (U.S. Army
         Corps of Engineers, Savannah District) – Participated in a threatened and
         endangered species survey within the 182,018-acre area of Fort Benning,
         Georgia. One of the species of interest is the Red-cockaded woodpecker
         (Picoides borealis).
        Threatened and Endangered Species Survey, Pope Air Force Base, NC (U.S.
         Army Corps of Engineers, Savannah District) – Participated in field crew
         surveying Pope Air Force Base for the presence of federally and state listed
         threatened and endangered species using procedures approved by the U.S. Fish
         and Wildlife Service.
        U.S. 171 Widening Project (Louisiana Department of Transportation and
         Development) – Surveyed a 200-foot project corridor for the presence of Red-
         cockaded woodpeckers (Picoides borealis). Results were used to determine the
         alignment of two new traffic lanes.

Permitting

        Henry Gas Storage – Project manager for the proposed Henry Gas Storage
         facility which consists of four underground natural gas storage caverns and
         associated infrastructure including an 11-mile on-shore pipeline and a 23-mile
         off-shore brine discharge line. Studies directed by Mr. Wharton included a


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         wetland delineation on the 300-acre tract, threatened and endangered species
         survey, critical habitat assessment and coordination with USFWS, cultural
         resources survey and a water bottom assessment looking for active oyster
         colonies in the vicinity of the off-shore discharge line.
        Bonnet Carré Power, LLC – Project Manager for multi-media permitting effort in a
         proposed 1200-megawatt power plant. Permits obtained included Title V and
         Acid Rain Air Permit, water permit, Department of the Army Permit, and ground
         water certification.      Project components also included Phase I and II
         Environmental Site Assessments, wetland delineation and Groundwater
         Sampling Plan and Analysis. The facility was fully permitted in 2003.
        Crescent City Power, LLC – Project Manager for a proposed 650-megawatt
         power plant in Orleans Parish, LA. Permits included Department of the Army
         Permit, air and water permit and groundwater certification. Mr. Wharton
         managed all aspects of the permitting and collections associated with field data.
        Department of the Army and Coastal Use Permitting - Mr. Wharton has managed
         numerous permitting projects for which the project included the deposition of
         dredge, a fill material in wetlands. Projects all included a component of
         mitigation which ranged from on-site mitigation to utilization of a mitigation bank.

Spill Response and Natural Resource Damage Assessments

        Crude oil pipeline release in Terrebonne Bay, Terrebonne Parish Louisiana–
         project biologist responsible for assessing potential impacts to vegetation,
         mapping areas during SCAT, and assessing impacts to area wildlife.
        Crude oil pipeline release, Lafourche Parish Louisiana – evaluated oiled
         shoreline for impacts to vegetation, assisted in the recovery of oiled wildlife and
         provided regulatory assistance throughout the response
        Historical release in Bayou Trepagnier, St. Charles Parish Louisiana– assessed
         potential impacts to area flora and fauna, provided regulatory assistance during
         the remedial action, prepared vegetation recovery and monitoring plan, assisted
         in the preparation of the DARP. Prepared and conducted a site-specific wetlands
         value assessment to predict the wetland function and value benefits resulting
         from the introduction of storm water into the 2,300-acre basin.
        Brine release, Lafourche Parish Louisiana – Project Manager and Project
         Biologist responsible for the direction of the response action, coordination with
         regulatory agencies throughout response, vegetation assessment and
         monitoring, and all reporting until closure.
        Crude oil release, Pecos River, Iraan Texas – Assisted in developing primary
         restoration plan jointly with TWWD and TGLO to address riparian habitat.
        Crude oil release, Homochitto National Forest, Mississippi – Assisted in
         developing field ecological assessment teams and review of report findings.
        Natural-gas condensate release in Vermilion Parish Louisiana. Project biologist
         responsible for defining the geographical extent of the release and assessing
         impacts to marsh habitat. Monitored black-necked stilt nesting site during
         response operation through the nesting season until fledglings had left the nest.
         Coordinated with the Louisiana Department of Natural Resources during
         response activities.

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        Crude oil release in Barataria Bay, Plaquemines Parish – project biologist
         responsible for assessing potential impacts to vegetation, mapping areas during
         SCAT, and assessing impacts to area wildlife.




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               Wharton Declaration
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                                             SITE 1 OF 21

CWVA SITE NUMBER: 1806 (FRONT)

Lat./Long.: 29.00468566/-89.15067855




                       Oiling Information                                       Date of
                                                                                CWVA                 SSOC (%)          VOEI (0-3)
                                                                              Observation
1
Maximum SCAT Oiling Level: Heavy                                             Fall 2010                     UW              3
Date of Maximum SCAT: May 17, 2010
                                                                             Spring 2011                   UW              0
2
Most Recent SCAT Oiling Level: No Oil Observed

                                                                             Fall 2011                     UW              0




           Fall 2010                             Spring 2011                                               Fall 2011




                                                                          June 12, 2012
                                 Fall 2011                     From landward transect point of beginning
                                                                        facing generally east




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                                                SITE 1 OF 21


CWVA SITE NUMBER: 1806 (MIDDLE)                                      CWVA SITE NUMBER: 1806 (BACK)

Lat./Long.: 29.00468566/-89.15067855                                 Lat./Long.: 29.00468566/-89.15067855




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CWVA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010        UW                 2                                Fall 2010        UW           1


  Spring 2011      UW                 0                                Spring 2011      UW           0


  Fall 2011        UW                 0                                Fall 2011        UW           0




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 1777 (FRONT)

Lat./Long.: 29.0765246/-89.15894326




                       Oiling Information                                  Date of
                                                                           CWVA        SSOC (%)        VOEI (0-3)
                                                                         Observation
1
Maximum SCAT Oiling Level: Not Available                                 Fall 2010       UW                0
Date of Maximum SCAT: Not Available
                                                                         Spring 2011     UW                0
2
Most Recent SCAT Oiling Level: Not Available

                                                                         Fall 2011       UW                0




           Fall 2010                                Spring 2011                          Spring 2011




                                                    June 12, 2012                        June12,2012
           Fall 2011
                                            Shoreline facing southeast           Shoreline facing northwest




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                        CWVA SITE NUMBER: 1777 (BACK)

                        Lat./Long.: 29.0765246/-89.15894326




                              Date of
                              CWVA              SSOC (%)       VOEI (0-3)
                            Observation
                           Fall 2010                UW             0


                           Spring 2011              UW             0


                           Fall 2011                UW             0




                                                LEGEND

           UW – Under Water
           ND – No Data
           NC – Not Collected
           NA – Not Available/Applicable
           SSOC - Sediment Surface Oiling Coverage
           VOEI - Vegetation Oiling Extent Index
               0 = No oil evident anywhere in the plot
             0.5 = Oil intermittently present on plant stems
             1.0 = Oil present on 5 - 25% of plant stems
             2.0 = Oil present on >25 - 50% of plant stems
             3.0 = Oil present on >50% of plant stems

           NOTES:
           1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
           2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                    most recent observation reported




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CWVA SITE NUMBER: 1811 (FRONT)

Lat./Long.: 29.18639107/-89.05717658




                   Oiling Information                            Date of
                                                                 CWVA        SSOC (%)        VOEI (0-3)
                                                               Observation
1
Maximum SCAT Oiling Level: Heavy                               Fall 2010       UW                0
Date of Maximum SCAT: May 18, 2010

2
                                                               Spring 2011     UW                0
Most Recent SCAT Oiling Level: No Oil Observed

                                                               Fall 2011       UW               NA




           Fall 2010                             Spring 2011                   Spring 2011




                                                                               June12,2012
           Fall 2011                              Fall 2011
                                                                             Overview of Site




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                        CWVA SITE NUMBER: 1811 (BACK)

                        Lat./Long.: 2918639107/-89.05717658




                              Date of
                              CWVA              SSOC (%)       VOEI (0-3)
                            Observation
                           Fall 2010                UW             0


                           Spring 2011              UW             0


                           Fall 2011                UW             0




                                                LEGEND

           UW – Under Water
           ND – No Data
           NC – Not Collected
           NA – Not Available/Applicable
           SSOC - Sediment Surface Oiling Coverage
           VOEI - Vegetation Oiling Extent Index
               0 = No oil evident anywhere in the plot
             0.5 = Oil intermittently present on plant stems
             1.0 = Oil present on 5 - 25% of plant stems
             2.0 = Oil present on >25 - 50% of plant stems
             3.0 = Oil present on >50% of plant stems

           NOTES:
           1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
           2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                    most recent observation reported




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CWVA SITE NUMBER: 40 (FRONT)

Lat./Long.: 29.17854759/-89.07033245




                  Oiling Information                                           Date of
                                                                               CWVA        SSOC (%)       VOEI (0-3)
                                                                             Observation
1
Maximum SCAT Oiling Level: No Oiling Observed                                Fall 2010       UW               0
Date of Maximum SCAT: May 25, 2010

2
                                                                             Spring 2011     UW               0
Most Recent SCAT Oiling Level: No Oil Observed

                                                                             Fall 2011       UW               0




          Fall 2010                               Spring 2011                                 Fall 2011




                                                 June 12, 2012

                                        Land/water interface facing inland




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CWVA SITE NUMBER: 40 (MIDDLE)                                           CWVA SITE NUMBER: 40 (BACK)

Lat./Long.: 29.17854759/-89.07033245                                    Lat./Long.: 29.17854759/-89.07033245




     Date of                                                                Date of
     CWVA        SSOC (%)       VOEI (0-3)                                  CWVA        SSOC (%)    VOEI (0-3)
   Observation                                                            Observation
  Fall 2010         ND              ND                                    Fall 2010        UW           0


  Spring 2011       UW                0                                   Spring 2011      UW           0


  Fall 2011         UW                0                                   Fall 2011        UW           0




                                                         LEGEND

                    UW – Under Water
                    ND – No Data
                    NC – Not Collected
                    NA – Not Available/Applicable
                    SSOC - Sediment Surface Oiling Coverage
                    VOEI - Vegetation Oiling Extent Index
                        0 = No oil evident anywhere in the plot
                      0.5 = Oil intermittently present on plant stems
                      1.0 = Oil present on 5 - 25% of plant stems
                      2.0 = Oil present on >25 - 50% of plant stems
                      3.0 = Oil present on >50% of plant stems

                    NOTES:
                    1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                    2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                             most recent observation reported




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    CWVA SITE NUMBER: 54 (FRONT)

    Lat./Long.: 29.19839324/-89.05185935




                       Oiling Information                                    Date of
                                                                             CWVA        SSOC (%)       VOEI (0-3)
                                                                           Observation
    1
    Maximum SCAT Oiling Level: Light                                       Fall 2010       UW               0
    Date of Maximum SCAT: July 30, 2010

    2
                                                                           Spring 2011     UW               0
    Most Recent SCAT Oiling Level: No Oil Observed

                                                                           Fall 2011       UW               0




               Fall 2010                             Spring 2011                            Fall 2011




                                                     June 12, 2012

                                              Facing transect at Site 54


.




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CWVA SITE NUMBER: 54 (MIDDLE)                                        CWVA SITE NUMBER: 54 (BACK)

Lat./Long.: 29.19839324/-89.05185935                                 Lat./Long.: 29.19839324/-89.05185935




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CWVA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010        NA                 1                                Fall 2010         0           1


  Spring 2011      UW                 0                                Spring 2011      UW           0


  Fall 2011        UW                 0                                Fall 2011         0           0




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 129 (FRONT)

Lat./Long.: 29.20031653/-89.05370101




                  Oiling Information                                             Date of
                                                                                 CWVA        SSOC (%)      VOEI (0-3)
                                                                               Observation
1
Maximum SCAT Oiling Level: Moderate                                            Fall 2010       UW              0
Date of Maximum SCAT: July 12, 2010

2
                                                                               Spring 2011     UW              0
Most Recent SCAT Oiling Level: No Oil Observed

                                                                               Fall 2011       UW              0




          Fall 2010                               Spring 2011                                  Fall 2011




                                                 June 12, 2012

                                       Transect at Site 129 facing shoreline




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CWVA SITE NUMBER: 129 (MIDDLE)                                       CWVA SITE NUMBER: 129 (BACK)

Lat./Long.: 29.20031653/-89.05370101                                 Lat./Long.: 29.20031653/-89.05370101




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CWVA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010        NA                 0                                Fall 2010        NA           0


  Spring 2011      UW                 0                                Spring 2011       0           0


  Fall 2011        UW                 0                                Fall 2011        UW           0




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 1355 (FRONT)

Lat./Long.: 29.4791663/-89.90710339




                  Oiling Information                              Date of
                                                                  CWVA        SSOC (%)        VOEI (0-3)
                                                                Observation
1
Maximum SCAT Oiling Level: Moderate                             Fall 2010        2              0.5, 3
Date of Maximum SCAT: July 21, 2010
                                                                Spring 2011     UW                0
2
Most Recent SCAT Oiling Level: Light

                                                                Fall 2011       UW                0




            Fall 2010                      Spring 2011                            Fall 2011




                                          June 13, 2012

                                       Shoreline facing north




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CWVA SITE NUMBER: 1355 (MIDDLE)                                      CWVA SITE NUMBER: 1355 (BACK)

Lat./Long.: 29.4791663/-89.90710339                                  Lat./Long.: 29.4791663/-89.90710339




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CWVA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010         1                 1                                Fall 2010         0          ND


  Spring 2011       0                 0                                Spring 2011       0           0


  Fall 2011        UW                0.5                               Fall 2011        UW           1




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 1314 (FRONT)

Lat./Long.: 29.46805738/-89.90806124




Oiling Information                                                       Date of
                                                                         CWVA        SSOC (%)       VOEI (0-3)
                                                                       Observation
1
Maximum SCAT Oiling Level: Heavy                                       Fall 2010        1               1
Date of Maximum SCAT: June 16, 2010

2
                                                                       Spring 2011     UW               0
Most Recent SCAT Oiling Level: No Oil Observed

                                                                       Fall 2011       UW               0




           Fall 2010                             Spring 2011                            Fall 2011




                                                 June 13, 2012

                                         Facing west along shoreline




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CWVA SITE NUMBER: 1314 (MIDDLE)                                      CWVA SITE NUMBER: 1314 (BACK)

Lat./Long.: 29.46805738/-89.90806124                                 Lat./Long.: 29.46805738/-89.90806124




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CWVA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010         1                 1                                Fall 2010         1           1


  Spring 2011       0                 0                                Spring 2011       0           0


  Fall 2011        UW                 0                                Fall 2011        UW           0




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 906 (FRONT)

Lat./Long.: 29.46845842/-89.88561853




                  Oiling Information                                                   Date of
                                                                                       CWVA               SSOC (%)          VOEI (0-3)
                                                                                     Observation
1
Maximum SCAT Oiling Level: Heavy                                                     Fall 2010                  UW              3
Date of Maximum SCAT: June 16, 2010
                                                                                     Spring 2011                UW              3
2
Most Recent SCAT Oiling Level: Light

                                                                                     Fall 2011                  10             NA




           Fall 2010                                      Spring 2011                                           Fall 2011




                              March 27, 2012                                       June 13, 2012

                         Facing west along shoreline                    Facing west/southwest along shoreline




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CWVA SITE NUMBER: 906 (MIDDLE)                                       CWVA SITE NUMBER: 906 (BACK)

Lat./Long.: 29.46845842/-89.88561853                                 Lat./Long.: 29.46845842/-89.88561853




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CWVA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010         30                3                                Fall 2010         0           2


  Spring 2011       0                 2                                Spring 2011       0           1


  Fall 2011         0                 0                                Fall 2011         0           0




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 1326 (FRONT)

Lat./Long.: 29.45677111/-89.88370821




                   Oiling Information                                      Date of
                                                                           CWVA              SSOC (%)      VOEI (0-3)
                                                                         Observation
1
Maximum SCAT Oiling Level: Heavy                                        Fall 2010              UW              3
Date of Maximum SCAT: June 5, 2010
                                                                        Spring 2011            UW             0.5
2
Most Recent SCAT Oiling Level: Light

                                                                        Fall 2011              UW              0




           Fall 2010                             Spring 2011                                   Fall 2011




                             March 27, 2012                           June 13, 2012

                             Facing inland                     Facing north along transect




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CWVA SITE NUMBER: 1326 (MIDDLE)                                      CWVA SITE NUMBER: 1326 (BACK)

Lat./Long.: 29.45677111/-89.88370821                                 Lat./Long.: 29.45677111/-89.88370821




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CWVA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010        UW                0.5                               Fall 2010        UW          0.5


  Spring 2011       0                 0                                Spring 2011       0           0


  Fall 2011         10               0.5                               Fall 2011        UW           0




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 910 (FRONT)

Lat./Long.: 29.45646852/-89.88704466




                  Oiling Information                                 Date of
                                                                     CWVA               SSOC (%)        VOEI (0-3)
                                                                   Observation
1
Maximum SCAT Oiling Level: Heavy                                   Fall 2010               85               3
Date of Maximum SCAT: June 5, 2010
                                                                   Spring 2011             95              0.5
2
Most Recent SCAT Oiling Level: Light

                                                                   Fall 2011               80               0




           Fall 2010                          Fall 2010                                   Spring 2011




                                                                June 13, 2012
                              Fall 2011
                                                           Facing west along transect




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CWVA SITE NUMBER: 910 (MIDDLE)                                       CWVA SITE NUMBER: 910 (BACK)

Lat./Long.: 29.45646852/-89.88704466                                 Lat./Long.: 29.45646852/-89.88704466




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CWVA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010         0                 2                                Fall 2010         0           2


  Spring 2011      NA                 0                                Spring 2011       0          0.5


  Fall 2011         50               0.5                               Fall 2011        10           0




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 914 (FRONT)

Lat./Long.: 29.44528899/-89.90196221




                  Oiling Information                                        Date of
                                                                            CWVA               SSOC (%)       VOEI (0-3)
                                                                          Observation
1
Maximum SCAT Oiling Level: Moderate                                      Fall 2010               UW               1
Date of Maximum SCAT: August 20, 2010

2
                                                                         Spring 2011              0               0
Most Recent SCAT Oiling Level: Light Tar Balls

                                                                         Fall 2011               UW               0




           Fall 2010                              Spring 2011                                   Spring 2011




                                                                       June 13, 2012
                              Fall 2011
                                                                Facing south/southeast along
                                                                         shoreline




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CWVA SITE NUMBER: 914 (MIDDLE)                                       CWVA SITE NUMBER: 914 (BACK)

Lat./Long.: 29.44528899/-89.90196221                                 Lat./Long.: 29.44528899/-89.90196221




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CWVA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010         0                 0                                Fall 2010        UW          0.5


  Spring 2011       0                 0                                Spring 2011       0           0


  Fall 2011        UW                 0                                Fall 2011        UW           0




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 1478 (FRONT)

Lat./Long.: 29.47361398/-89.85748107




                  Oiling Information                               Date of
                                                                   CWVA            SSOC (%)         VOEI (0-3)
                                                                 Observation
1
Maximum SCAT Oiling Level: Heavy                                 Fall 2010              0                0
Date of Maximum SCAT: January 28, 2011

2
                                                                 Spring 2011           UW               NA
Most Recent SCAT Oiling Level: Light Tar Balls

                                                                 Fall 2011             UW                0




           Fall 2010                                Fall 2010                         Spring 2011




                                                                                     June 13, 2012
          Spring 2011                               Fall 2011
                                                                             Facing north to back of transect




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                                                           CWVA SITE NUMBER: 1478 (BACK)

                                                           Lat./Long.: 29.47361398/-89.85748107




                                                                Date of
          June 13, 2012                                         CWVA        SSOC (%)   VOEI (0-3)
                                                              Observation
    Facing east along shoreline
                                                              Fall 2010        0           0


                                                              Spring 2011      0           0


                                                              Fall 2011       UW           0




                                                     LEGEND

                UW – Under Water
                ND – No Data
                NC – Not Collected
                NA – Not Available/Applicable
                SSOC - Sediment Surface Oiling Coverage
                VOEI - Vegetation Oiling Extent Index
                    0 = No oil evident anywhere in the plot
                  0.5 = Oil intermittently present on plant stems
                  1.0 = Oil present on 5 - 25% of plant stems
                  2.0 = Oil present on >25 - 50% of plant stems
                  3.0 = Oil present on >50% of plant stems

                NOTES:
                1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 1173 (FRONT)

Lat./Long.: 29.45474699/-89.79077469




                  Oiling Information                                                Date of
                                                                                    CWVA             SSOC (%)           VOEI (0-3)
                                                                                  Observation
1
Maximum SCAT Oiling Level: Moderate                                               Fall 2010                 0              0.5
Date of Maximum SCAT: June 17, 2010
                                                                                  Spring 2011               0               0
2
Most Recent SCAT Oiling Level: No Oil Observed

                                                                                  Fall 2011                 UW              0




           Fall 2010                                   Spring 2011                                          Fall 2011




                             June 13, 2012                                     June 13, 2012

                       Facing west along shoreline                   Facing est/northeast along shoreline




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                                                LEGEND

           UW – Under Water
           ND – No Data
           NC – Not Collected
           NA – Not Available/Applicable
           SSOC - Sediment Surface Oiling Coverage
           VOEI - Vegetation Oiling Extent Index
               0 = No oil evident anywhere in the plot
             0.5 = Oil intermittently present on plant stems
             1.0 = Oil present on 5 - 25% of plant stems
             2.0 = Oil present on >25 - 50% of plant stems
             3.0 = Oil present on >50% of plant stems

           NOTES:
           1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
           2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                    most recent observation reported




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CWVA SITE NUMBER: 1179 (FRONT)

Lat./Long.: 29.45708443/-89.78902323




                  Oiling Information                                                Date of
                                                                                    CWVA            SSOC (%)          VOEI (0-3)
                                                                                  Observation
1
Maximum SCAT Oiling Level: Moderate                                              Fall 2010                UW              0
Date of Maximum SCAT: June 17, 2010
                                                                                 Spring 2011              0               0
2
Most Recent SCAT Oiling Level: No Oil Observed

                                                                                 Fall 2011                0               0




           Fall 2010                                     Spring 2011                                      Fall 2011




                               June 13, 2012                                    June 13, 2012

                       Facing southest along shoreline                 Facing northwest along shoreline




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                                                LEGEND

           UW – Under Water
           ND – No Data
           NC – Not Collected
           NA – Not Available/Applicable
           SSOC - Sediment Surface Oiling Coverage
           VOEI - Vegetation Oiling Extent Index
               0 = No oil evident anywhere in the plot
             0.5 = Oil intermittently present on plant stems
             1.0 = Oil present on 5 - 25% of plant stems
             2.0 = Oil present on >25 - 50% of plant stems
             3.0 = Oil present on >50% of plant stems

           NOTES:
           1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
           2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                    most recent observation reported




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CWVA SITE NUMBER: 829 (FRONT)

Lat./Long.: 29.06938977/-90.31589451




                  Oiling Information                               Date of
                                                                   CWVA        SSOC (%)       VOEI (0-3)
                                                                 Observation
1
Maximum SCAT Oiling Level: Light Tar Balls                       Fall 2010        0               1
Date of Maximum SCAT: August 17, 2011
                                                                 Spring 2011     NA              NA
2
Most Recent SCAT Oiling Level: No Oil Observed

                                                                 Fall 2011        0               0




          Fall 2010                              Spring 2011                      Fall 2011




                                                 June 14, 2012

                                              Facing northwest




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CWVA SITE NUMBER: 829 (MIDDLE)                                       CWVA SITE NUMBER: 829 (BACK)

Lat./Long.: 29.06938977/-90.31589451                                 Lat./Long.: 29.06938977/-90.31589451




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CVWA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010         0                 0                                Fall 2010         0           1


  Spring 2011      NA                NA                                Spring 2011      NA          NA


  Fall 2011         0                 0                                Fall 2011         0           0




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 798 (FRONT)

Lat./Long.: 29.140014/-90.264361




                 Oiling Information                     Date of
                                                                                 VOEI (0-3)       VOEI (0-3)
                                                        CWVA        SSOC (%)
                                                                                   Adult          Seedling
                                                      Observation
1
Maximum SCAT Oiling Level: Heavy                  Fall 2010            10              3                3
Date of Maximum SCAT: May 25, 2010

2
                                                  Spring 2011         UW               2                2
Most Recent SCAT Oiling Level: Light

                                                  Fall 2011           NA               0                NA




          Fall 2010                       Fall 2010                                  Fall 2010




                                                                                  June 14, 2012
         Spring 2011                      Fall 2011                            Shoreline facing north




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            June 14, 2012

     Facing west along shoreline



CWVA SITE NUMBER: 798 (MIDDLE)                                                 CWVA SITE NUMBER: 798 (BACK)

Lat./Long.: 29.140014/-90.264361                                               Lat./Long.: 29.140014/-90.264361




  Date of                                                                  Date of
                                   VOEI (0-3)     VOEI (0-3)                                      VOEI (0-3)   VOEI (0-3)
  CWVA          SSOC (%)                                                   CWVA        SSOC (%)
                                     Adult        Seedling                                          Adult      Seedling
Observation                                                              Observation
Fall 2010             0                0                 0              Fall 2010         0           0            0


Spring 2011           0                0                 0              Spring 2011       0           0            0


Fall 2011            NA                0                 0              Fall 2011        NA           0            0




                                                               LEGEND

                          UW – Under Water
                          ND – No Data
                          NC – Not Collected
                          NA – Not Available/Applicable
                          SSOC - Sediment Surface Oiling Coverage
                          VOEI - Vegetation Oiling Extent Index
                              0 = No oil evident anywhere in the plot
                            0.5 = Oil intermittently present on plant stems
                            1.0 = Oil present on 5 - 25% of plant stems
                            2.0 = Oil present on >25 - 50% of plant stems
                            3.0 = Oil present on >50% of plant stems

                          NOTES:
                          1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                          2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                                    most recent observation reported


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CWVA SITE NUMBER: 285 (FRONT)

Lat./Long.: 29.140096/-90.265374




                  Oiling Information                        Date of
                                                                                    VOEI (0-3)     VOEI (0-3)
                                                            CWVA         SSOC (%)
                                                                                      Adult        Seedling
                                                          Observation
1
Maximum SCAT Oiling Level: Heavy                          Fall 2010         30          2              2
Date of Maximum SCAT: May 25, 2010

2
                                                          Spring 2011      UW           3              2
Most Recent SCAT Oiling Level: Light

                                                          Fall 2011         0           1             NA




           Fall 2010                            Spring 2011                            Fall 2011




                                               June 14, 2012
                                       From landward transect point of
                                              beginning facing




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   CWVA SITE NUMBER: 285 (MIDDLE)                                         CWVA SITE NUMBER: 285 (BACK)

   Lat./Long.: 29.140096/-90.265374                                       Lat./Long.: 29.140096/-90.265374



  Date of                                                             Date of
                            VOEI (0-3)       VOEI (0-3)                                      VOEI (0-3)   VOEI (0-3)
  CWVA        SSOC (%)                                                CWVA        SSOC (%)
                              Adult          Seedling                                          Adult      Seedling
Observation                                                         Observation
Fall 2010         0              0.5              0.5              Fall 2010         0           0.5         0.5


Spring 2011       0               0                 0              Spring 2011       0            0           0


Fall 2011         0               0                 0              Fall 2011         0            0           0




                                                          LEGEND

                      UW – Under Water
                      ND – No Data
                      NC – Not Collected
                      NA – Not Available/Applicable
                      SSOC - Sediment Surface Oiling Coverage
                      VOEI - Vegetation Oiling Extent Index
                         0 = No oil evident anywhere in the plot
                       0.5 = Oil intermittently present on plant stems
                       1.0 = Oil present on 5 - 25% of plant stems
                       2.0 = Oil present on >25 - 50% of plant stems
                       3.0 = Oil present on >50% of plant stems

                      NOTES:
                      1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                      2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                               most recent observation reported




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                                          SITE 19 OF 21

CWVA SITE NUMBER: 862 (FRONT)

Lat./Long.: 29.27255888/-90.37331347




                  Oiling Information                                     Date of
                                                                         CWVA        SSOC (%)       VOEI (0-3)
                                                                       Observation
1
Maximum SCAT Oiling Level: Light                                       Fall 2010        0               0
Date of Maximum SCAT: May 25, 2010

2
                                                                       Spring 2011      0               0
Most Recent SCAT Oiling Level: No Oil Observed

                                                                       Fall 2011        0               0




          Fall 2010                              Spring 2011                            Fall 2011




                                              June 14, 2012

                                        Facing south along shoreline




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                                               SITE 19 OF 21

CWVA SITE NUMBER: 862 (MIDDLE)                                       CWVA SITE NUMBER: 862 (BACK)

Lat./Long.: 29.27255888/-90.37331347                                 Lat./Long.: 29.27255888/-90.37331347




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CWVA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010         0                 0                                Fall 2010         0           0


  Spring 2011       0                 0                                Spring 2011       0           0


  Fall 2011         0                 0                                Fall 2011         0           0




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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                                             SITE 20 OF 21

CWVA SITE NUMBER: 1774 (FRONT)

Lat./Long.: 29.28464584/-90.3366051




                  Oiling Information                                           Date of
                                                                               CWVA        SSOC (%)       VOEI (0-3)
                                                                             Observation
1
Maximum SCAT Oiling Level: Heavy                                             Fall 2010       UW               0
Date of Maximum SCAT: November 9, 2010

2
                                                                             Spring 2011     ND              ND
Most Recent SCAT Oiling Level: Very Light

                                                                             Fall 2011       ND              ND




          Fall 2010                               Spring 2011                                 Fall 2011




                                                 June 14, 2012

                                       From boat facing north towards site




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                                               SITE 20 OF 21

CWVA SITE NUMBER: 1774 (MIDDLE)                                      CVWA SITE NUMBER: 1774 (BACK)

Lat./Long.: 29.28464584/-90.3366051                                  Lat./Long.: 29.28464584/-90.3366051




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CWVA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010        UW                 0                                Fall 2010        UW          0.5


  Spring 2011      UW                 0                                Spring 2011      UW           0


  Fall 2011        ND                ND                                Fall 2011        ND          ND




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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CWVA SITE NUMBER: 1714 (FRONT)

Lat./Long.: 29.24271936/-90.39453894




                  Oiling Information                                       Date of
                                                                           CWVA        SSOC (%)       VOEI (0-3)
                                                                         Observation
1
Maximum SCAT Oiling Level: No Oil Observed                               Fall 2010        20              0
Date of Maximum SCAT: August 2, 2010

2
                                                                         Spring 2011     UW               0
Most Recent SCAT Oiling Level: No Oil Observed

                                                                         Fall 2011       UW               0




          Fall 2010                              Spring 2011                              Fall 2011




                                               June 14, 2012

                                       Facing Site 1714 along transect




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                                               SITE 21 OF 21

CWVA SITE NUMBER: 1714 (MIDDLE)                                      CVWA SITE NUMBER: 1714 (BACK)

Lat./Long.: 29.24271936/-90.39453894                                 Lat./Long.: 29.24271936/-90.39453894




    Date of                                                              Date of
    CWVA        SSOC (%)        VOEI (0-3)                               CVWA        SSOC (%)    VOEI (0-3)
  Observation                                                          Observation
  Fall 2010         0                 0                                Fall 2010         0           0


  Spring 2011       0                0.5                               Spring 2011       0           0


  Fall 2011         0                 0                                Fall 2011         0           0




                                                      LEGEND

                 UW – Under Water
                 ND – No Data
                 NC – Not Collected
                 NA – Not Available/Applicable
                 SSOC - Sediment Surface Oiling Coverage
                 VOEI - Vegetation Oiling Extent Index
                     0 = No oil evident anywhere in the plot
                   0.5 = Oil intermittently present on plant stems
                   1.0 = Oil present on 5 - 25% of plant stems
                   2.0 = Oil present on >25 - 50% of plant stems
                   3.0 = Oil present on >50% of plant stems

                 NOTES:
                 1. Source: August 3, 2012 Houma SCAT Maximum Oiling shapefile
                 2. Source: August 6, 2012 Oiling Ground Observations shapefile –
                          most recent observation reported




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